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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION

MELANIE HOGAN SLUDER, et al.

     Plaintiff,

v.                                          Civil Action File No.:
                                            4:24-cv-00181-WMR
REBECKA PHILLIPS, et al.,

     Defendants.


             DEFENDANT GILMER COUNTY’S ANSWER TO
                 PLAINTIFFS’ COMPLAINT AT LAW


      COMES NOW Defendant Gilmer County (a municipal corporation) 1

(“Gilmer County”), and hereby makes this its answer and defenses to Plaintiffs’

Complaint at Law (“complaint”) and respectfully shows this Honorable Court the

following:

                               FIRST DEFENSE

      Plaintiffs’ complaint fails to state a claim upon which relief can be granted


      1
        Gilmer County is not a municipal corporation, which is a “significantly
different entit[y].” See Marion v. DeKalb Cty., 821 F. Supp. 685, 688 (N.D. Ga.
1993) (explaining the differences between counties and municipalities under
Georgia law).
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against Gilmer County. Plaintiffs’ complaint should thus be dismissed as to Gilmer

County.

                                SECOND DEFENSE

      Gilmer County is not liable to Plaintiffs because Plaintiffs have not suffered

any injuries or damages as a result of any act by or omission of Gilmer County.

                                 THIRD DEFENSE

      Gilmer County is not liable to Plaintiffs because Gilmer County is not guilty

of any willful misconduct or maliciousness.

                               FOURTH DEFENSE

      Any actions taken by Gilmer County were correct, made in good faith,

reasonable and in accordance with the law.

                                 FIFTH DEFENSE

      Gilmer County is not liable to Plaintiffs because Plaintiffs’ alleged damages,

if any, were not proximately caused by any official policy, practice, custom or

directive of Gilmer County or one whose acts or edicts may be said to represent

official policy, and Gilmer County is thus without liability for any claim of Plaintiffs

brought pursuant to 42 U.S.C. § 1983.



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                                SIXTH DEFENSE

      Gilmer County is not liable to Plaintiffs because the conduct of Gilmer County

was not in violation of any clearly established constitutional right of which a

reasonable official or employee would have known and was thus objectively

reasonable.

                               SEVENTH DEFENSE

      Gilmer County is not liable to Plaintiffs because Gilmer County, at all times,

was acting pursuant to proper authority, and Plaintiffs have suffered no damages

thereby.

                               EIGHTH DEFENSE

      Any claim against Gilmer County fails to meet the required standards. As

such, Plaintiffs’ complaint should be denied.

                                NINTH DEFENSE

      Gilmer County is not liable to Plaintiffs because Gilmer County did not breach

any duty owed to Plaintiffs.

                                TENTH DEFENSE

      Gilmer County is not liable to Plaintiffs in any amount whatsoever because

any and all injuries alleged to have been sustained by Plaintiffs were and are the

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result of Plaintiffs’ own actions and not those of Gilmer County.

                             ELEVENTH DEFENSE

      Gilmer County is not liable to Plaintiffs because any and all alleged injuries

and damages, if any, sustained by Plaintiffs were directly and proximately caused

by forces or instrumentalities other than those over which Gilmer County had

control.

                             TWELFTH DEFENSE

      Plaintiffs’ complaint should be dismissed as to Gilmer County because

Plaintiffs have failed to allege any constitutional violation by Gilmer County.

                           THIRTEENTH DEFENSE

      Gilmer County should be dismissed from this action because it cannot be held

liable for the action of individuals who were not employed by Gilmer County.

                           FOURTEENTH DEFENSE

      This Defendant incorporates all affirmative defenses contained in Fed. R. Civ.

P. 8(c) to the extent they are or become supported by the evidence.

                             FIFTEENTH DEFENSE

      Answering the numbered paragraphs of the amended complaint, Gilmer

County shows the Court as follows:

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                                           1.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 1 of Plaintiffs’ complaint.

                                           2.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 2 of Plaintiffs’ complaint.

                                           3.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 3 of Plaintiffs’ complaint.

                                           4.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 4 of Plaintiffs’ complaint.

                                           5.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 5 of Plaintiffs’ complaint.

                                           6.

      Gilmer County admits that Ellis was a sergeant in the Sheriff’s Office. Gilmer

County lacks knowledge or information sufficient to form a belief about the truth of

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the remaining allegations contained in paragraph 6 of Plaintiffs’ complaint.

                                           7.

      Gilmer County denies the allegations contained in paragraph 7 of Plaintiffs’

complaint.

                                           8.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 8 of Plaintiffs’ complaint.

                                           9.

      Gilmer County admits that Sluder died on August 27, 2022. Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations contained in paragraph 9 of Plaintiffs’ complaint.

                                           10.

      Gilmer County denies that Sluder was at the mercy of its judgment. Gilmer

County lacks knowledge or information sufficient to form a belief about the truth of

the remaining allegations contained in paragraph 10 of Plaintiffs’ complaint.

                                           11.

      Gilmer County denies the allegations contained in paragraph 11 of Plaintiffs’

complaint.

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                                           12.

      Gilmer County denies the allegations contained in paragraph 12 of Plaintiffs’

complaint.

                                           13.

      Gilmer County denies the allegations contained in paragraph 13 of Plaintiffs’

complaint.

                                           14.

      Gilmer County denies the allegations contained in paragraph 14 of Plaintiffs’

complaint.

                                           15.

      Gilmer County admits the allegations contained in paragraph 15 of Plaintiffs’

complaint.

                                           16.

      Gilmer County admits the allegations contained in paragraph 16 of Plaintiffs’

complaint as to venue but denies any allegations against it giving rise to this action.

                                           17.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 17 of Plaintiffs’ complaint.

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                                           18.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 18 of Plaintiffs’ complaint.

                                           19.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 19 of Plaintiffs’ complaint.

                                           20.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 20 of Plaintiffs’ complaint.

                                           21.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 21 of Plaintiffs’ complaint.

                                           22.

      Gilmer County admits the allegations contained in paragraph 22 of Plaintiffs’

complaint.

                                           23.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 23 of Plaintiffs’ complaint.

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                                           24.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 24 of Plaintiffs’ complaint.

                                           25.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 25 of Plaintiffs’ complaint.

                                           26.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 26 of Plaintiffs’ complaint.

                                           27.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 27 of Plaintiffs’ complaint.

                                           28.

      Gilmer County admits that Plaintiffs purport to sue Sharon Ellis in her

individual capacity. Gilmer County denies the remaining allegations contained in

paragraph 28 of Plaintiffs’ complaint.

                                           29.

      Gilmer County lacks knowledge or information sufficient to form a belief

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about the truth of the allegations contained in paragraph 29 of Plaintiffs’ complaint.

                                           30.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 30 of Plaintiffs’ complaint.

                                           31.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 31 of Plaintiffs’ complaint.

                                           32.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 32 of Plaintiffs’ complaint.

                                           33.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 33 of Plaintiffs’ complaint.

                                           34.

      Gilmer County denies the allegations contained in paragraph 34 of Plaintiffs’

complaint.

                                           35.

      Gilmer County lacks knowledge or information sufficient to form a belief

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about the truth of the allegations contained in paragraph 35 of Plaintiffs’ complaint.

                                           36.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 36 of Plaintiffs’ complaint.

                                           37.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 37 of Plaintiffs’ complaint.

                                           38.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 38 of Plaintiffs’ complaint.

                                           39.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 39 of Plaintiffs’ complaint.

                                           40.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 40 of Plaintiffs’ complaint.

                                           41.

      Gilmer County lacks knowledge or information sufficient to form a belief

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about the truth of the allegations contained in paragraph 41 of Plaintiffs’ complaint.

                                           42.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 42 of Plaintiffs’ complaint.

                                           43.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 43 of Plaintiffs’ complaint.

                                           44.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 44 of Plaintiffs’ complaint.

                                           45.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 45 of Plaintiffs’ complaint.

                                           46.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 46 of Plaintiffs’ complaint.

                                           47.

      Gilmer County lacks knowledge or information sufficient to form a belief

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about the truth of the allegations contained in paragraph 47 of Plaintiffs’ complaint.

                                           48.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 48 of Plaintiffs’ complaint.

                                           49.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 49 of Plaintiffs’ complaint.

                                           50.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 50 of Plaintiffs’ complaint.

                                           51.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 51 of Plaintiffs’ complaint.

                                           52.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 52 of Plaintiffs’ complaint.

                                           53.

      Gilmer County lacks knowledge or information sufficient to form a belief

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about the truth of the allegations contained in paragraph 53 of Plaintiffs’ complaint,

including each of its subparts.

                                           54.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 54 of Plaintiffs’ complaint.

                                           55.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 55 of Plaintiffs’ complaint.

                                           56.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 56 of Plaintiffs’ complaint,

including each of its subparts.

                                           57.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 57 of Plaintiffs’ complaint.

                                           58.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 58 of Plaintiffs’ complaint.

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                                           59.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 59 of Plaintiffs’ complaint.

                                           60.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 60 of Plaintiffs’ complaint.

                                           61.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 61 of Plaintiffs’ complaint.

                                           62.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 62 of Plaintiffs’ complaint.

                                           63.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 63 of Plaintiffs’ complaint.

                                           64.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 64 of Plaintiffs’ complaint.

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                                           65.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 65 of Plaintiffs’ complaint.

                                           66.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 66 of Plaintiffs’ complaint.

                                           67.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 67 of Plaintiffs’ complaint.

                                           68.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 68 of Plaintiffs’ complaint.

                                           69.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 69 of Plaintiffs’ complaint.

                                           70.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 70 of Plaintiffs’ complaint.

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                                           71.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 71 of Plaintiffs’ complaint.

                                           72.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 72 of Plaintiffs’ complaint.

                                           73.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 73 of Plaintiffs’ complaint.

                                           74.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 74 of Plaintiffs’ complaint.

                                           75.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 75 of Plaintiffs’ complaint.

                                           76.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 76 of Plaintiffs’ complaint.

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                                           77.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 77 of Plaintiffs’ complaint.

                                           78.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 78 of Plaintiffs’ complaint.

                                           79.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 79 of Plaintiffs’ complaint.

                                           80.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 80 of Plaintiffs’ complaint.

                                           81.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 81 of Plaintiffs’ complaint.

                                           82.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 82 of Plaintiffs’ complaint.

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                                           83.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 83 of Plaintiffs’ complaint.

                                           84.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 84 of Plaintiffs’ complaint.

                                           85.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 85 of Plaintiffs’ complaint.

                                           86.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 86 of Plaintiffs’ complaint.

                                           87.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 87 of Plaintiffs’ complaint.

                                           88.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 88 of Plaintiffs’ complaint.

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                                           89.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 89 of Plaintiffs’ complaint.

                                           90.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 90 of Plaintiffs’ complaint.

                                           91.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 91 of Plaintiffs’ complaint.

                                           92.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 92 of Plaintiffs’ complaint.

                                           93.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 93 of Plaintiffs’ complaint.

                                           94.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 94 of Plaintiffs’ complaint.

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                                           95.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 95 of Plaintiffs’ complaint.

                                           96.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 96 of Plaintiffs’ complaint.

                                           97.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 97 of Plaintiffs’ complaint.

                                           98.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 98 of Plaintiffs’ complaint.

                                           99.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 99 of Plaintiffs’ complaint.

                                         100.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 100 of Plaintiffs’ complaint.

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                                         101.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 101 of Plaintiffs’ complaint.

                                         102.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 102 of Plaintiffs’ complaint.

                                         103.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 103 of Plaintiffs’ complaint.

                                         104.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 104 of Plaintiffs’ complaint.

                                         105.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 105 of Plaintiffs’ complaint.

                                         106.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 106 of Plaintiffs’ complaint.

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                                         107.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 107 of Plaintiffs’ complaint.

                                         108.

      Gilmer County denies the allegations of paragraph 108 of Plaintiffs’

complaint to the extent they are directed at Gilmer County. Gilmer County lacks

knowledge or information sufficient to form a belief about the truth of the remaining

allegations contained in paragraph 108 of Plaintiffs’ complaint.

                                         109.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 109 of Plaintiffs’ complaint.

                                         110.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 110 of Plaintiffs’ complaint.

                                         111.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 111 of Plaintiffs’ complaint.



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                                         112.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 112 of Plaintiffs’ complaint.

                                         113.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 113 of Plaintiffs’ complaint.

                                         114.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 114 of Plaintiffs’ complaint.

                                         115.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 115 of Plaintiffs’ complaint.

                                         116.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 116 of Plaintiffs’ complaint.

                                         117.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 117 of Plaintiffs’ complaint.

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                                         118.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 118 of Plaintiffs’ complaint.

                                         119.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 119 of Plaintiffs’ complaint.

                                         120.

      Gilmer County denies the allegations contained in paragraph 120 of Plaintiffs’

complaint.

                                         121.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 121 of Plaintiffs’ complaint.

                                         122.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 122 of Plaintiffs’ complaint.

                                         123.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 123 of Plaintiffs’ complaint.

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                                         124.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 124 of Plaintiffs’ complaint.

                                         125.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 125 of Plaintiffs’ complaint.

                                         126.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 126 of Plaintiffs’ complaint.

                                         127.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 127 of Plaintiffs’ complaint.

                                         128.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 128 of Plaintiffs’ complaint.

                                         129.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 129 of Plaintiffs’ complaint.

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                                         130.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 130 of Plaintiffs’ complaint.

                                         131.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 131 of Plaintiffs’ complaint.

                                         132.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 132 of Plaintiffs’ complaint.

                                         133.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 133 of Plaintiffs’ complaint.

                                         134.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 134 of Plaintiffs’ complaint.

                                         135.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 135 of Plaintiffs’ complaint.

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                                         136.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 136 of Plaintiffs’ complaint.

                                         137.

      Gilmer County admits that Sluder died on August 27, 2024. Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 137 of Plaintiffs’ complaint.

                                         138.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 138 of Plaintiffs’ complaint.

                                         139.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 139 of Plaintiffs’ complaint.

                                         140.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 140 of Plaintiffs’ complaint.

                                         141.

      Gilmer County lacks knowledge or information sufficient to form a belief

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about the truth of the allegations contained in paragraph 141 of Plaintiffs’ complaint.

                                         142.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 142 of Plaintiffs’ complaint.

                                         143.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 143 of Plaintiffs’ complaint.

                                         144.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 144 of Plaintiffs’ complaint.

                                         145.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 145 of Plaintiffs’ complaint.

                                         146.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 146 of Plaintiffs’ complaint.

                                         147.

      Gilmer County lacks knowledge or information sufficient to form a belief

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about the truth of the allegations contained in paragraph 147 of Plaintiffs’ complaint.

                                         148.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 148 of Plaintiffs’ complaint.

                                         149.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 149 of Plaintiffs’ complaint.

                                         150.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 150 of Plaintiffs’ complaint.

                                         151.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 151 of Plaintiffs’ complaint.

                                         152.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 152 of Plaintiffs’ complaint.

                                         153.

      Gilmer County denies the allegations contained in paragraph 153 of Plaintiffs’

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complaint.

                                         154.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 154 of Plaintiffs’ complaint.

                                         155.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 155 of Plaintiffs’ complaint.

                                         156.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 156 of Plaintiffs’ complaint.

                                         157.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 157 of Plaintiffs’ complaint.

                                         158.

      Gilmer County lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in paragraph 158 of Plaintiffs’ complaint.

                                         159.

      Gilmer County hereby realleges and incorporates herein all the above

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defenses and responses to paragraphs 1 through 158 of Plaintiffs’ complaint as if

stated herein verbatim. 2

                                        160.

      No response is required to the allegations contained in paragraph 160 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 160 of Plaintiffs’ complaint.

                                        161.

      No response is required to the allegations contained in paragraph 161 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 161 of Plaintiffs’ complaint.

                                        162.

      No response is required to the allegations contained in paragraph 162 of


      2
        Plaintiffs’ complaint erroneously states that it incorporates paragraphs 1
through 162 when it should refer to paragraphs 1 through 158 of the complaint.
Gilmer County will reference the correct numerical citation in its answer.
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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 162 of Plaintiffs’ complaint.

                                        163.

      No response is required to the allegations contained in paragraph 163 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 163 of Plaintiffs’ complaint.

                                        164.

      No response is required to the allegations contained in paragraph 164 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 164 of Plaintiffs’ complaint.

                                        165.

      No response is required to the allegations contained in paragraph 165 of

                                         33
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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 165 of Plaintiffs’ complaint.

                                        166.

      No response is required to the allegations contained in paragraph 166 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 166 of Plaintiffs’ complaint.

                                        167.

      No response is required to the allegations contained in paragraph 167 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 167 of Plaintiffs’ complaint.

                                        168.

      No response is required to the allegations contained in paragraph 168 of

                                         34
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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 168 of Plaintiffs’ complaint.

                                        169.

      No response is required to the allegations contained in paragraph 169 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 169 of Plaintiffs’ complaint.

                                        170.

      No response is required to the allegations contained in paragraph 170 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 170 of Plaintiffs’ complaint.

                                        171.

      No response is required to the allegations contained in paragraph 171 of

                                         35
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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 171 of Plaintiffs’ complaint.

                                        172.

      No response is required to the allegations contained in paragraph 172 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 172 of Plaintiffs’ complaint, including each of its

subparts.

                                        173.

      No response is required to the allegations contained in paragraph 173 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 173 of Plaintiffs’ complaint.



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                                        174.

      No response is required to the allegations contained in paragraph 174 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 174 of Plaintiffs’ complaint.

                                        175.

      No response is required to the allegations contained in paragraph 175 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 175 of Plaintiffs’ complaint.

                                        176.

      Gilmer County hereby realleges and incorporates herein all the above

defenses and responses to paragraphs 1 through 158 of Plaintiffs’ complaint as if

stated herein verbatim.

                                        177.

      No response is required to the allegations contained in paragraph 177 of

                                         37
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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 177 of Plaintiffs’ complaint.

                                        178.

      No response is required to the allegations contained in paragraph 178 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 178 of Plaintiffs’ complaint.

                                        179.

      No response is required to the allegations contained in paragraph 179 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 179 of Plaintiffs’ complaint.

                                        180.

      No response is required to the allegations contained in paragraph 180 of

                                         38
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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 180 of Plaintiffs’ complaint.

                                        181.

      No response is required to the allegations contained in paragraph 181 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 181 of Plaintiffs’ complaint.

                                        182.

      No response is required to the allegations contained in paragraph 182 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 182 of Plaintiffs’ complaint.

                                        183.

      No response is required to the allegations contained in paragraph 183 of

                                         39
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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 183 of Plaintiffs’ complaint.

                                        184.

      No response is required to the allegations contained in paragraph 184 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 184 of Plaintiffs’ complaint.

                                        185.

      No response is required to the allegations contained in paragraph 185 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 185 of Plaintiffs’ complaint.

                                        186.

      No response is required to the allegations contained in paragraph 186 of

                                         40
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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 186 of Plaintiffs’ complaint.

                                        187.

      No response is required to the allegations contained in paragraph 187 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 187 of Plaintiffs’ complaint.

                                        188.

      No response is required to the allegations contained in paragraph 188 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 188 of Plaintiffs’ complaint.

                                        189.

      No response is required to the allegations contained in paragraph 189 of

                                         41
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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 189 of Plaintiffs’ complaint.

                                        190.

      No response is required to the allegations contained in paragraph 190 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 190 of Plaintiffs’ complaint, including each of its

subparts.

                                        191.

      No response is required to the allegations contained in paragraph 191 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 191 of Plaintiffs’ complaint.



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                                        192.

      No response is required to the allegations contained in paragraph 192 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 192 of Plaintiffs’ complaint.

                                        193.

      No response is required to the allegations contained in paragraph 193 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 193 of Plaintiffs’ complaint.

                                        194.

      Gilmer County hereby realleges and incorporates herein all the above

defenses and responses to paragraphs 1 through 158 of Plaintiffs’ complaint as if

stated herein verbatim.

                                        195.

      No response is required to the allegations contained in paragraph 195 of

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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 195 of Plaintiffs’ complaint.

                                        196.

      No response is required to the allegations contained in paragraph 196 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 196 of Plaintiffs’ complaint.

                                        197.

      No response is required to the allegations contained in paragraph 197 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 197 of Plaintiffs’ complaint.

                                        198.

      No response is required to the allegations contained in paragraph 198 of

                                         44
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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 198 of Plaintiffs’ complaint.

                                        199.

      No response is required to the allegations contained in paragraph 199 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 199 of Plaintiffs’ complaint.

                                        200.

      No response is required to the allegations contained in paragraph 200 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 200 of Plaintiffs’ complaint.

                                        201.

      No response is required to the allegations contained in paragraph 201 of

                                         45
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Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 201 of Plaintiffs’ complaint.

                                        202.

      No response is required to the allegations contained in paragraph 184 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 184 of Plaintiffs’ complaint.

                                        203.

      No response is required to the allegations contained in paragraph 203 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 203 of Plaintiffs’ complaint, including each of its

subparts.



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                                        204.

      No response is required to the allegations contained in paragraph 204 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 204 of Plaintiffs’ complaint.

                                        205.

      No response is required to the allegations contained in paragraph 205 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 205 of Plaintiffs’ complaint.

                                        206.

      No response is required to the allegations contained in paragraph 206 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 206 of Plaintiffs’ complaint.

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                                        207.

      Gilmer County hereby realleges and incorporates herein all the above

defenses and responses to paragraphs 1 through 158 of Plaintiffs’ complaint as if

stated herein verbatim.

                                        208.

      No response is required to the allegations contained in paragraph 208 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 208 of Plaintiffs’ complaint, including each of its

subparts.

                                        209.

      No response is required to the allegations contained in paragraph 209 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 209 of Plaintiffs’ complaint.



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                                        210.

      No response is required to the allegations contained in paragraph 210 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 210 of Plaintiffs’ complaint.

                                        211.

      No response is required to the allegations contained in paragraph 211 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 211 of Plaintiffs’ complaint.

                                        212.

      No response is required to the allegations contained in paragraph 212 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 212 of Plaintiffs’ complaint.

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                                        213.

      No response is required to the allegations contained in paragraph 213 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 213 of Plaintiffs’ complaint.

                                        214.

      No response is required to the allegations contained in paragraph 214 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 214 of Plaintiffs’ complaint.

                                        215.

      No response is required to the allegations contained in paragraph 215 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 215 of Plaintiffs’ complaint.

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                                        216.

      No response is required to the allegations contained in paragraph 216 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 216 of Plaintiffs’ complaint, including each of its

subparts.

                                        217.

      No response is required to the allegations contained in paragraph 217 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 217 of Plaintiffs’ complaint.

                                        218.

      No response is required to the allegations contained in paragraph 218 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

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allegations contained in paragraph 218 of Plaintiffs’ complaint.

                                        219.

      No response is required to the allegations contained in paragraph 219 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 219 of Plaintiffs’ complaint.

                                        220.

      Gilmer County hereby realleges and incorporates herein all the above

defenses and responses to paragraphs 1 through 158 of Plaintiffs’ complaint as if

stated herein verbatim.

                                        221.

      No response is required to the allegations contained in paragraph 221 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 221 of Plaintiffs’ complaint.



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                                        222.

      No response is required to the allegations contained in paragraph 222 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 222 of Plaintiffs’ complaint.

                                        223.

      No response is required to the allegations contained in paragraph 223 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 223 of Plaintiffs’ complaint.

                                        224.

      No response is required to the allegations contained in paragraph 224 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 224 of Plaintiffs’ complaint.

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                                        225.

      No response is required to the allegations contained in paragraph 225 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 225 of Plaintiffs’ complaint.

                                        226.

      No response is required to the allegations contained in paragraph 226 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 226 of Plaintiffs’ complaint.

                                        227.

      No response is required to the allegations contained in paragraph 227 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 227 of Plaintiffs’ complaint.

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                                        228.

      No response is required to the allegations contained in paragraph 228 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 228 of Plaintiffs’ complaint.

                                        229.

      No response is required to the allegations contained in paragraph 229 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 229 of Plaintiffs’ complaint.

                                        230.

      No response is required to the allegations contained in paragraph 230 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 230 of Plaintiffs’ complaint.

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                                        231.

      No response is required to the allegations contained in paragraph 231 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 231 of Plaintiffs’ complaint, including each of its

subparts.

                                        232.

      No response is required to the allegations contained in paragraph 232 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 232 of Plaintiffs’ complaint.

                                        233.

      No response is required to the allegations contained in paragraph 233 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

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allegations contained in paragraph 233 of Plaintiffs’ complaint.

                                        234.

      No response is required to the allegations contained in paragraph 234 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 234 of Plaintiffs’ complaint.

                                        235.

      Gilmer County hereby realleges and incorporates herein all the above

defenses and responses to paragraphs 1 through 158 of Plaintiffs’ complaint as if

stated herein verbatim.

                                        236.

      No response is required to the allegations contained in paragraph 236 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 236 of Plaintiffs’ complaint.



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                                        237.

      No response is required to the allegations contained in paragraph 237 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 237 of Plaintiffs’ complaint.

                                        238.

      No response is required to the allegations contained in paragraph 238 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 238 of Plaintiffs’ complaint.

                                        239.

      No response is required to the allegations contained in paragraph 239 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 239 of Plaintiffs’ complaint.

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                                        240.

      No response is required to the allegations contained in paragraph 240 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 240 of Plaintiffs’ complaint.

                                        241.

      No response is required to the allegations contained in paragraph 241 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 241 of Plaintiffs’ complaint.

                                        242.

      No response is required to the allegations contained in paragraph 242 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 242 of Plaintiffs’ complaint.

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                                        243.

      No response is required to the allegations contained in paragraph 243 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 243 of Plaintiffs’ complaint.

                                        244.

      No response is required to the allegations contained in paragraph 244 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 244 of Plaintiffs’ complaint, including each of its

subparts.

                                        245.

      No response is required to the allegations contained in paragraph 245 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

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allegations contained in paragraph 245 of Plaintiffs’ complaint.

                                        246.

      No response is required to the allegations contained in paragraph 246 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 246 of Plaintiffs’ complaint.

                                        247.

      No response is required to the allegations contained in paragraph 247 of

Plaintiffs’ complaint because the allegations pertain to claims against a defendant

other than Gilmer County. To the extent further response is required, Gilmer County

lacks knowledge or information sufficient to form a belief about the truth of the

allegations contained in paragraph 247 of Plaintiffs’ complaint.

                                        248.

      Gilmer County hereby realleges and incorporates herein all the above

defenses and responses to paragraphs 1 through 158 of Plaintiffs’ complaint as if

stated herein verbatim.



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                                       249.

      Gilmer County denies the allegations contained in paragraph 249 of Plaintiffs’

complaint.

                                       250.

      Gilmer County denies the allegations contained in paragraph 250 of Plaintiffs’

complaint.

                                       251.

      Gilmer County denies the allegations contained in paragraph 251 of Plaintiffs’

complaint.

                                       252.

      Gilmer County denies the allegations contained in paragraph 252 of Plaintiffs’

complaint.

                                       253.

      Gilmer County denies the allegations contained in paragraph 253 of Plaintiffs’

complaint.

                                       254.

      Gilmer County denies the allegations contained in paragraph 254 of Plaintiffs’

complaint.

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                                       255.

      Gilmer County denies the allegations contained in paragraph 255 of Plaintiffs’

complaint.

                                       256.

      Gilmer County denies the allegations contained in paragraph 256 of Plaintiffs’

complaint.

                                       257.

      Gilmer County denies the allegations contained in paragraph 257 of Plaintiffs’

complaint.

                                       258.

      Gilmer County denies the allegations contained in paragraph 258 of Plaintiffs’

complaint.

                                       259.

      Gilmer County denies the allegations contained in paragraph 259 of Plaintiffs’

complaint.

                                       260.

      Gilmer County denies the allegations contained in paragraph 260 of Plaintiffs’

complaint.

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                                       261.

      Gilmer County denies the allegations contained in paragraph 261 of Plaintiffs’

complaint.

                                       262.

      Gilmer County denies the allegations contained in paragraph 262 of Plaintiffs’

complaint.

                                       263.

      Gilmer County denies the allegations contained in paragraph 263 of Plaintiffs’

complaint.

                                       264.

      Gilmer County denies the allegations contained in paragraph 264 of Plaintiffs’

complaint.

                                       265.

      Gilmer County denies that Plaintiffs are entitled to any relief or recovery

whatsoever from Gilmer County.

                                       266.

      All other allegations of Plaintiffs’ complaint, whether numbered or

unnumbered, not previously admitted, denied or controverted by Gilmer County are

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hereby specifically denied.

      WHEREFORE, Gilmer County prays that:

      (a) Plaintiffs’ complaint be dismissed as to Gilmer County;

      (b) Plaintiffs be granted no relief whatsoever against Gilmer County;

      (c) Judgment be granted in favor of Gilmer County;

      (d) Gilmer County be awarded appropriate attorney’s fees and expenses

pursuant to 42 U.S.C. §1988 and all other applicable federal rules and laws;

      (e) A jury try this action and Gilmer County demands a jury trial; and

      (e) Gilmer County be granted all other and further relief as provided by law.

                                             Respectfully submitted by:

                                             WOMACK, RODHAM & RAY, P.C.

                                             /s/ Ronald R. Womack
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                                             rwomack@wrrlawfirm.com

                                             /s/ Ryan L. Ray
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                                             ATTORNEYS FOR DEFENDANT
                                             GILMER COUNTY
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                         CERTIFICATE OF SERVICE


      On August 26, 2024, I electronically filed the foregoing Defendant Gilmer

County’s Answer to Plaintiffs’ Complaint at Law with the Clerk of Court using the

CM/ECF system which will automatically provide electronic service of this

document to all counsel of record.

                                            Submitted by:

                                            WOMACK, RODHAM & RAY, P.C.

                                            /s/ Ryan L. Ray
                                            Georgia Bar No. 561765
                                            rray@wrrlawfirm.com

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                                            OF COUNSEL FOR DEFENDANT
                                            GILMER COUNTY




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